Case 9:05-cr-00020-RC-KFG          Document 43        Filed 08/03/05      Page 1 of 2 PageID #: 38




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                              §
                                                       §
 V.                                                    §    CASE NO. 9:05-CR-20
                                                       §
 ROBERT DILLAHUNTY                                     §

              ORDER ADOPTING THE REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE


         By order, the undersigned referred this matter to the Honorable Harry W. McKee, United

 States Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32

 of the Federal Rules of Criminal Procedure. Judge McKee conducted a hearing in the form and

 manner prescribed by Federal Rule of Criminal Procedure 11 and issued his Report and

 Recommendation of the United States Magistrate Judge [Clerk’s doc. #32]. The Magistrate Judge

 recommended that the Court accept Defendant’s guilty plea and conditionally accept his plea

 agreement. He further recommended that the undersigned finally adjudge Defendant as guilty on

 Count One of the Indictment filed against Defendant in this cause.

         The parties have not objected to the magistrate’s findings. The Court is of the opinion that

 the Report and Recommendation should be accepted. It is accordingly ORDERED that the Report

 and Recommendation [Clerk’s doc. #32] of the United States Magistrate Judge are ADOPTED.

 Defendant’s guilty plea and the plea agreement are conditionally ACCEPTED by the Court at this

 time.




                                                -1-
Case 9:05-cr-00020-RC-KFG          Document 43        Filed 08/03/05     Page 2 of 2 PageID #: 39




        It is further ORDERED that, in accordance with Defendant’s guilty plea and the magistrate’s

 findings and recommendation, Defendant, Robert Dillahunty, is hereby adjudged as GUILTY on

 Count One of the charging Indictment, charging violations of Title 18, United States Code,

 Sections 2113(b) and 371, conditioned upon the Court’s final acceptance of the guilty plea and plea

 agreement at sentencing.

 So ORDERED and SIGNED this 3 day of August, 2005.




                                             ___________________________________
                                             Ron Clark, United States District Judge




                                                -2-
